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 3   Sacramento, California 95814
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 4   Facsimile: (916) 446-7104
     Email: tedmonlaw@comcast.net
 5
     Attorney for Defendant
 6   ANDRE CAWTHORNE
 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                      )
                                                    )       Cr. No. S-11-190 MCE
12                           Plaintiff,             )
                                                    )       STIPULATION AND
13                                                  )       ORDER CONTINUING STATUS
                     v.                             )       CONFERENCE; FINDING OF
14                                                  )       EXCLUDABLE TIME
                                                    )
15   NICHOLAS RAMIREZ, et al.,                      )       Date: August 9, 2012
                                                    )       Time: 9:00 a.m.
16                           Defendants.            )       Judge: Hon. Morrison C. England, Jr.
                                                    )
17
18                                             STIPULATION
19            Plaintiff, United States of America, through Assistant U.S. Attorney Jason Hitt; defendant
20   Nicholas Ramirez, through counsel Michael B. Bigelow; defendant Ung Duong, through counsel
21   Michael L. Chastaine; defendant Phat Nguyen, through counsel Michael D. Long; defendant Justin
22   Nonoguchi, through counsel Christopher R. Cosca; defendant Frank Alioto, through counsel John
23   R. Manning; defendant Manuel Keith, through counsel Jan D. Karowsky; defendant Tiffany Brown,
24   through counsel Dina L. Santos; and defendant Andre Cawthorne, through counsel Scott L. Tedmon,
25   hereby stipulate and agree as follows:
26            1. A status conference is currently set for August 9, 2012 at 9:00 a.m.
27   ///
28   ///

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 1          2. By this stipulation, the above-named defendants now move to continue the status
 2   conference to November 8, 2012 at 9:00 a.m., and to exclude time between August 9, 2012 and
 3   November 8, 2012 under Local Code T2 and T4. Plaintiff does not oppose this request.
 4          3. The basis upon which the parties agree to this proposed continuance of the status
 5   conference is as follows:
 6          a.      This case was the product of a lengthy investigation in which wiretaps were utilized
 7                  on multiple telephones. The government has produced discovery which to date
 8                  includes 1,952 pages containing wiretap applications, periodic reports, and
 9                  investigative materials. Additionally, the government has provided defense counsel
10                  with voluminous wiretap conversations. Given this large volume of discovery,
11                  defense counsel needs additional time to review the discovery and consult with their
12                  respective clients.
13          b.      Counsel for each defendant believes that failure to grant the above-requested
14                  continuance would deny their respective client the reasonable time necessary for
15                  effective preparation, taking into account the exercise of due diligence.
16          c.      The discovery in this case and the facts of the alleged conspiracy are “complex”
17                  within the meaning of 18 U.S.C. § 3161(h)(7)(B)(ii), [Local Code T2]. This Court
18                  has previously found this case to be “complex” and excluded time pursuant to Local
19                  Code T2, and the parties agree to such a finding of complexity.
20          d.      Plaintiff does not object to the continuance.
21          e.      Based on the above-stated findings, the ends of justice served by continuing the
22                  status conference as requested outweigh the best interest of the public and the
23                  defendants in a trial within the original date prescribed by the Speedy Trial Act.
24          f.      For the purpose of computing time under the Speedy Trial Act, 16 U.S.C. § 3161, et
25                  seq., within which trial must commence, the time period from August 9, 2012 to
26                  November 8, 2012, inclusive, is deemed excludable pursuant to 18 U.S.C. §
27                  3161(h)(7)(a), B(ii) and (iv); [Local Code T2 and T4] because it results from a
28                  continuance by the Court at the defendants request on the basis of the Court’s finding

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 1                   that the ends of justice served by taking such action outweigh the best interest of the
 2                   public and the defendants in a speedy trial.
 3           4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
 4   Speedy Trial Act dictate that additional time periods are excludable from the period within which
 5   a trial must commence.
 6           5. Finally, Scott L. Tedmon has been authorized by all counsel to sign this stipulation on
 7   their behalf.
 8   IT IS SO STIPULATED.
 9   DATED: August 6, 2012                  BENJAMIN B. WAGNER
                                            United States Attorney
10
                                             /s/ Jason Hitt
11                                          JASON HITT
                                            Assistant United States Attorney
12                                          Attorney for Plaintiff United States
13   DATED: August 6, 2012                  LAW OFFICES OF MICHAEL B. BIGELOW
14                                          /s/ Michael B. Bigelow
                                            MICHAEL B. BIGELOW
15                                          Attorney for Defendant Nicholas Ramirez
16   DATED: August 6, 2012                  LAW OFFICES OF MICHAEL L. CHASTAINE
17                                          /s/ Michael L. Chastiane
                                            MICHAEL L. CHASTAINE
18                                          Attorney for Defendant Ung Duong
19   DATED: August 6, 2012                  LAW OFFICES OF MICHAEL D. LONG
20                                          /s/ Michael D. Long
                                            MICHAEL D. LONG
21                                          Attorney for Defendant Phat Nguyen
22   DATED: August 6, 2012                  LAW OFFICES OF CHRISTOPHER R. COSCA
23                                          /s/ Christopher R. Cosca
                                            CHRISTOPHER R. COSCA
24                                          Attorney for Defendant Justin Nonoguchi
25   DATED: August 6, 2012                  LAW OFFICES OF JOHN R. MANNING
26                                          /s/ John R. Manning
                                            JOHN R. MANNING
27                                          Attorney for Defendant Frank Alioto
28

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 1   DATED: August 6, 2012              LAW OFFICES OF JAN D. KAROWSKY
 2                                      /s/ Jan D. Karowsky
                                        JAN D. KAROWSKY
 3                                      Attorney for Defendant Manuel Keith
 4   DATED: August 6, 2012              LAW OFFICES OF DINA L. SANTOS
 5                                      /s/ Dina L. Santos
                                        DINA L. SANTOS
 6                                      Attorney for Defendant Tiffany Brown
 7   DATED: August 6, 2012              LAW OFFICES OF SCOTT L. TEDMON
 8                                      /s/ Scott L. Tedmon
                                        SCOTT L. TEDMON
 9                                      Attorney for Defendant Andre Cawthorne
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11
12
13                                             ORDER
14
15         Pursuant to the foregoing stipulation of counsel, and good cause appearing, IT IS SO
16   ORDERED.
17
      Dated: August 8, 2012
18
                                                ________________________________
19                                              MORRISON C. ENGLAND, JR.
                                                UNITED STATES DISTRICT JUDGE
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